October 31, 2016



ND Highway 1806 bridge to remain closed north of
Cannonball
The North Dakota Department of Transportation (NDDOT) and North Dakota Highway
Patrol will keep the ND Highway 1806 bridge closed north of Cannonball until further
notice. The highway bridge (often referred to as backwater bridge) travels over
Cantapeta Creek north of Cannonball and will remain closed to traffic for the safety of
the traveling public because the structural integrity of the bridge may be compromised
due to protesters lighting vehicles on fire on the structure.

The bridge is unsafe for anyone to cross and will remain closed until all damage to the
structure is evaluated by bridge engineers. The NDDOT is currently making
arrangements for a bridge inspection but is unable to implement the process due to
ongoing incidents in the area.

The NDDOT appreciates the public's patience with the process as it may take time to
access, inspect, and make any necessary repairs to the bridge.

During the closure motorists need to use alternate routes.


 North Dakota Department ot Tnn•;portat,on      ~0:3 East Boulevsird, B1mnrck, NO 50505




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